MORTON & CRAIG LLC

John R. Morton, Jr., Esq.

110 Marter Ave.

Suite 301

Moorestown, NJ 08057

Telephone: (856) 866-0100

Attorney for: Ford Motor Credit Company

 

JM-5630
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
IN RE: Case No. 17-36011(KCF)

JOHN P. CONKLIN Chapter 13

MELISSA A. CONKLIN Hearing Date:

CERTIFICATION IN SUPPORT OF
MOTION OF FORD MOTOR CREDIT
COMPANY FOR RELIEF FROM THE

AUTOMATIC STAY

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sane nearer certifies as follows:

I am employed by Ford Motor Credit Company (“Ford”) and am

familiar with the facts of this case.

2. On 1-18-14, the Debtor executed a retail installment contract

for the purchase of a 2012 FORD more particularly described in

the following paragraph. The contract was assigned to Ford

Motor Credit Company and the Debtor became indebted to Ford in

accordance with the terms of same. To secure payment of the
contract, the Debtor caused the title to the vehicle to be
delivered to Ford Credit. As a result, Ford Motor Credit

Company is the holder of a first purchase money security

interest encumbering the vehicle. True copies of the contract

and title are annexed hereto.

Page 1
Br.

The following information sets forth the make, model and
serial number of the vehicle, the original terms of the

contract, the clean retail and trade-in values of the vehicle,

and the current status of the Debtor’s loan
A. Make, model, and serial number of motor vehicle:

2012 FORD ESCAPE

Serial Number: I1FMCUOBEG6CKB09381

B. Original contract terms:

(i) Total of payments: $30,967.20
(ii) Term: 72 Months
(iii) Monthly payment: $430.10
(iv) First payment due: 3-4-14
Cc. Clean retail value: $9,375.00
*Value derived from NADA Official Used Car Guide,
JUNE 2019 edition.
D. Delinquency status: As of 6-24-19 account due from

4-4-19 to 6-4-19

Arrears as of 6-24-19: $1288.50 plus $519.44 in late

charges

10 Day Payoff Balance: $10,589.75 as of 6-24-19

Page 2
4. Ford Motor Credit Company demands relief from the automatic
stay for the following reasons:
a. The account is in default. The debtors are failing to make
payments against the vehicle and failing to provide Ford

Credit with adequate protection.

I CERTIFY THAT THE FOREGOING STATEMENTS MADE BY ME ARE TRUE. I
AM AWARE THAT IF ANY OF THE FOREGOING STATEMENTS MADE BY ME ARE

WILLFULLY FALSE, I AM SUBJECT TO PUNISHMENT.

Dated: @-2Y- QE

COLORADO SPRINGS, CO

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Page 3
 

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

Morton & Craig LLC

John R. Morton, Jr.

110 Marter Ave.

Suite 301

Moorestown, NJ 08057

Attorneys for Ford Motor Credit Company LLC

 

In Re:

JOHN CONKLIN
MELISSA CONKLIN

 

 

 

Case No.
Hearing Date:
Chapter:

Judge:

17-3601

13

KCF

CERTIFICATION OF SECURED CREDITOR REGARDING POST-PETITION
PAYMENT HISTORY ON VEHICLE LOAN/LEASE

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hh QAtAg™ __ of full age. employed as ,

 

 

 

_ Bankruptcy Specialist by
Ford Motor Credit Company LLC , hereby certifies the following information:
Vehicle lender/lessor: Ford Motor Credit Company LLC
Vehicle description: 2012 Ford Escapje

 

POST-PETITION PAYMENTS RECEIVED (Petition filed on 12-29-17 }

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Amount due Date Payment | Date payment Amount Hcw payment | Type of payment (See
due received received applied Legend below)
(mo./yr)
|. 430.10 1-4-18 1-16-18 431.00
2. 430.10 2-4-18 2-15-18 431.00
3. 430.10 3-4-18 3-15-18 431.00
+ 430.10 4-4-18 4-13-18 431.00
5. 430.10 §-4-18 5-15-18 431.00
® 430.10 6-4-18 6-19-18 431.00
7 430.10 7-4-18 7-13-18 431.00
8 430.10 8-4-18 8-16-18 43.00

 

 
 

 

 

 

 

 

 

 

 

 

 

 

Amount due Date Payment | Date Payment Amount How Payment | Type of Payment (See
due received Received applied Legend below)
(ro0./yr)

9.

430.10 9-4-18 9-14-18 431.00
'8- 430.10 10-4-18 10-16-18 431.00
'l. 430.10 11-4-18 11-16-18 431.00
12,430.10 12-4-18 12-18-18 43...00

SS

Total 5 161 20 5,172.00

 

(Continue on attached sheets if necessary)

Monthly payments past due @ $ per month from to

$ -10.80

Plus miscellaneous amounts due:

 

Late Charges: $

Repossession fees: $

Extension fees: $

Other : $
TOTAL POST-PETITION PAST DUE.\..........csccsceseccescensnsceeeeee oe $ -10.80
Pre-petition arrears: to

 

( months x $ per month = $ 0.00 )

Legend: MP = monthly payment; EXF = Extension fee; LC = Late Charge O = Other*specify other payments received

I certify under penalty of perjury that the foregoing is true and correct.

6-24 .20F eh On. Kase.

Date of signature ( S}gnature 0
NY

Local Form 16A. rev.8/1 06.jml
 

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

Morton & Craig LLC
John R. Morton, Jr.
110 Marter Ave.

Suite 301

Moorestown, NJ 08057

Attorneys for Ford Motor Credit Company LLC

 

In Re: Case No. 17-3601 1
i date:
JOHN CONKLIN og pe
MELISSA CONKLIN — 13
Judge: Kcr

 

 

 

CERTIFICATION OF SECURED CREDITOR REGARDING POST-PETITION
PAYMENT HISTORY ON VEHICLE LOAN/LEASE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

\ Aa etacn lc fev of full age, employed as , Bankruptcy Specialist by
“Ford Mdtor Credit Company LLC , hereby certifies the following information:
Vehicle lender/lessor: Ford Motor Credit Company LLC
Vehicle description: 2012 Ford Escape
POST-PETITION PAYMENTS RECEIVED (Petition filed on 12-29-17 )
Amount due Date Payment | Date payment Amount How payment | Type of payment (Sce
due received receive applied Legend belew)
(m.fyr)
me 430.10 1-4-19 1-16-19 431.00
5
a 430.10 2-4-19 3-20-19 431 00
3» 430,10 3-4-19 5-16-19 431.00
4430.10 4-4-19
> 430.10 5-4-19
= 430.10 6-4-19
1
8.

 

 

 

 

 

 

 

 
 

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)

Morton & Craig LLC

John R. Morton, Jr.

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Suite 301

Moorestown, NJ 08057

Attorneys for Ford Motor Credit Company LLC

 

wih i Case No.: __17-36011
i te:
JOHN CONKLIN Hearing Date
MELISSA CONKLIN Chapter: i
Judge: KCF

 

 

 

CERTIFICATION OF SECURED CREDITOR REGARDING POST-PETITION
PAYMENT HISTORY ON VEHICLE LOAN/LEASE

 

 

 

 

\ BS AP non Lev. of full age, employed as | Bankruptcy Specialist by
Ford Movor Credit Company LLC , hereby certifies the follow ng information:
Vehicle lender/lessor: Ford Motor Credit Company LLC
Vehicle description: 2012 Ford Escape

 

POST-PETITION PAYMENTS RECEIVED (Petition filed on 12-29-17 )

 

 

 

 

 

 

 

 

 

Amount due Date Payment | Date payment Amount How payment | Type of payment (See

due received received applied Legend below)
Qne./yr)

- 430.10 1-4-19 1-16-19 431.00

2430.10 2-4-19 3-20-19 431.00

3. 430.10 3-4-19 5-16-19 431.00

4. 430.10 4-4-19

e 430.10 5-4-19

* 430.10 6-4-19

es

8.

 

 

 

 

 

 

 

 
 

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LAW" 553-NJ-ARB-e 5/10

RETAIL INSTALLMENT SALE CONTRACT
SIMPLE FINANCE CHARGE

Contract Number N/A

Creditor-Seller (Name and Address)

 

Dealer Number N/A

 

Buyer Name and Address
(Including County and Zip Code)
MELISSA A CONKLIN

63 GUILFORD PL
Burlington, NJ 08016 BURLINGTON

Co-Buyer Name and Address
(Including County and Zip Code)
JOHN P CONKLIN

63 GUILFORD PLACE
Burlington, NJ 08016 BURLINGTON

HOLMAN AUTOMOTIVE
571 WEST ROUTE 38
MAPLE SHADE, NJ 08052

 

 

 

 

You, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit. By signing this contract, you choose to buy the vehicle
on credit under the agreements in this contract. You agree to pay the Creditor - Seller (scmetimes “we” or “us” in this contract) the Amount
Financed and Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily basis. The
Truth-In-Lending Disclosures below are part of this contract.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Make and
New/Used/Demo Year Model Vehicle Identification Nurmber Primary Use For Which Purchased
[Alpersonal, family or household
Used 2012 Sion 1FMCUOEG6CKB09381 [business
[Jagricuttural IE] N/A
ANNUAL a ee eee cata Sar _] [Usea car Buyers Guide. The infor-
mount otal o otal Sale mation you see on the window form
PERCENTAGE CHARGE Financed Payments Price for this Sick is part of this contract.
RATE The dollar The amount of |The amount you will] The total cost of Information on the window form
The cost of amount the credit provided to | have paid after you | your purchase ori ig
your credit as credit will you or have made all credit, including overrides any _ contrary provisions in
a yearly rate. cost you. on your behalf. payments as your down the contract of sale. .
scheduled, payment of Spanish Translation: Guia para
$.__1,056.10 _is| | Compradores de vehiculos usados.
oe i La informaci6n que ve en el
5.90 %| $ __5,003.70 $ __25,963.50__| $__30,967.20___| $ ___32,023.30__| | formulario de la ventanilla para este
Your Payment Schedule Will Be: vehiculo forma parte del presente
Number of Amount of When Payments —| | contrato. La informacion - del
Payments Payments Are Due _| | formularlo de. la ventanilla deja sin
72 $ 430.10 Monthly beginning 03/04/2014 efecto toda disposicion en contrarlo
Or As Follows: —| | contenida en el contrato de venta.
N/A (Jf this box is checked, the following late charge
__} }applies to vehicles purchased primarily for business
Late Charge. if payment is not received in full within 10 — days after it is due, you will pay alate chaige of 5 % ofthe | }or agricultural use.
part of the payment that is late. If the vehicle Is primarily for personal, family, or household use and the cash price is | |If a payment is not received in full within__N/A__
$10,000 or tess, the charge for each late payment willbe $_10_. days after it is due, you will pay a late charge of
Prepayment. If you pay off all your debt early, you will not have to pay a penalty. $____ N/A or ___N/A__% of the part of
Security Interest. You are giving a security interest in the vehicle being purchased. the payment that is late, whichever is less.
Additional Information: See this contract for more information including information about nonpayment, default, any required | | If this box is not checked, the late charge in the
repayment in full before the scheduled date and security interest. “Federal Truth-In-Lending Disclosures” still applies.

 

 

 

NO COOLING OFF PERIOD

State law does not provide for a “‘cooling off” or cancellation period for this sale. After you sign this
contract, you may only cancel it if the seller agrees or for legal cause. You cannot cancel this contract
simply because you change your mind. This notice does not apply to home solicitation sales.

 

 

 

NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES WHICH
THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT HERETO OR
WITH THE PROCEEDS HEREOF. RECOVERY HEREUNDER BY THE DEBTOF! SHALL NOT EXCEED AMOUNTS PAID BY
THE DEBTOR HEREUNDER.

The preceding NOTICE applies only if the “personal, family or household” box in the “Primary Use for Which Purchased” section
of this contract is checked. In all other cases, Buyer will not assert against any subsequent holder or assignee of this contract any
claims or defenses the Buyer (debtor) may have against the Seller, or against the manufacturer of the vehicle or equipment
obtained under this contract.

LAW 553-NJ-ARB-e 5/10 v2 Page 10f5
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ITEMIZATION OF AMOUNT FINANCED

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 Cash Price (including $__ 1,398.60 __sales tax) $ 24,288.60(\}
2 Total Downpayment =
Tease 20903 Mercury Mountaineer
(Year) (Make) (Model)
Gross Trade-In Allowance $ ____ 5,200.00
Less Pay Off Made By Seller $5,143.90
Equals Net Trade In $ 56.10
+ Cash $ 1,000.00
+Other NA $ | N/A
(If tota: downpayment is negative, enter "0" and see 4J below) $ 1.056.102)
3 Unpaid Balance of Cash Price (1 minus 2) $__ 23,232.50(4)
4 Other Charges Including Amounts Pald to Others on Your Behalf
(Seller may keep part of these amounts):
A Cost of Optional Credit Insurance Paid to Insurance
Company or Companies.
Life $ N/A
Disabiity $ NA $ NIA
B Other Optional Insurance Paid to Insurance Company or Companies $ N/A
C Official Fees Paid to Government Agencies
10 N/A for N/A $NA
to WA for WA $ N/A
to WA for N/A § N/A
D Optional Gap Contract $ 595.00
E Supplemental Title Fee_ $ N/A
F Vehicle Tire Fee $ NIA
G Government Taxes Not Included in Cash Price $ N/A
H Government License and/or Registration Fees
Licente $ 161.50
| Government Cerificate of Tile Fees $NA
J Other Charges (Seller must identify who is paid and
describe purpose)
to W/A for Prior Credit or Lease Balance $ N/A
to Ford Extended Service Plan (E for Service Plan $___ 1,695.00
to HOLMAN AUTOMOTIVE for Documentary Fee $___,_279.50
to WA for N/A $ N/A
to N/A for N/A $ N/A
to N/A for N/A $ N/A
to WA for NIA $ NIA
to WA for N/A $ N/A
to WA for N/A $ N/A
to NWA for N/A $NA
Total Other Charges and Amounts Paid to Others on Your Behalf $ 2,731.00(4;
5 Amount Financed (3 + 4) $ _25,963.50(5!
oPTION: C1] You pay no finance charge if the Amount Financed, item 5, is paidin full onorbefore, N/A.

Year _ N/A __. SELLER'S INITIALS __ N/A

 

 

OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtair
credit and will not be provided unless you sign below and agree to pay the extra charge. If you choose
to buy a gap contract, the charge is shown in Item 4D of the \temization of Amount Financed. See you~
gap contraci for details on the terms and conditions it provides. It is a part of this contrac’.

72 American Heritage Insurance Se

Name of Gap Contract

Term Mos.

 

| want to buy a gap contract.
Buyer Signs X A

 

 

 

Returned Check Charge: You agree to pay a charge of g_ 20 _if any check you give us

is dishonored and the law allows it.

 

 

Customer Completed Copy

 

Insurance. You may buy the physical damage insurance
this contract requires from anyone you choose who is
acceptable to us. You are not required to buy any other
insurance to obtain credit.

If any insurance is checked below, policies or cer-
tificates from the named insurance companies will describe
the terms and conditions.

Check the insurance you want and sign below:
Optional Credit Insurance

 

 

 

(_[Credit Life: [Buyer [[]CoBuyer [[]Both
[| Credit Disabitity (Buyer Only)
Premium:
Credit Life $ N/A
Credit Disability $ NIA
Insurance Company Name
NVA
Home Office Address
NIA

 

Credit life insurance and credit disability insurance are not
required to obtain credit. Your decision to buy or not buy credit
life insurance and credit disability insurance will not be a factor
in the credit approval process. They will not be provided unless
you sign and agree to pay the extra cost. If you choose this
insurance, the cost is shown in Item 4A of the ltemization of
Amount Financed. Credit life insurance pays the unpaid part of
the amount financed if you die. This insurance pays only the

amount you would owe if you paid all your payments on time.
Credit disability insurance pays the schedul yments due
under this contract while you are disabled. This insurance

does not cover any increase in your payment or in the number
of payments. The policies or certificates issued by the named
insurance companies may further limit the coverage that credit
life or credit disability insurance provides. See the policies or
cerilficates for coverage limits and other terms and conditions.
Coverage for credit life insurance and credit disability
insurance ends on the original due date for the fast payment
unless a different term for the insurance is shown below.

Other Optional Insurance

 

 

 

 

 

 

 

0 N/A N/A
Type of Insurance Term
Premium $ NVA
Insurance Company Name
N/A
Home Office Address
N/A
C) N/A N/A
Type of Insurance Term
Premium $ NYA
Insurance Company Name
NIA
Home Office Address
N/A

 

Other optional insurance is not required to obtain credit. Your
decision to buy or not buy other optional insurance will not be
a factor in the credit approval process. It will not be provided
unless you sign and agree to pay the extra cost.

| want the insurance checked above.

 

 

xB N/A NIA
Buyer Signature Date
xB N/A NIA
Co-Buyer Signature Date

 

THIS DOES NOT INCLUDE INSURANCE
ON YOUR LIABILITY FOR BODILY INJURY
OR PROPERTY DAMAGE. WITHOUT SUCH
INSURANCE, YOU MAY NOT OPERATE

 

THIS VEHICLE ON PUBLIC HIGHWAYS.

 

LAW 553-NJ-ARB-e 5/10 v2 Page 2of5

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OTHER IMPORTANT AGREEMENTS
1. FINANCE CHARGE AND PAYMENTS

a.

How we will figure Finance Charge. We will figure
the Finance Charge on a daily basis at the Annual
Percentage Rate on the unpaid part of the Amount
Financed.

How we will apply payments. We may apply each
payment to the earned and unpaid part of the
Finance Charge, to the unpaid part of the Amount
Financed and to other amounts you owe under this
contract in any order we choose.

How late payments or early payments change
what you must pay. We based the Finance
Charge, Total of Payments, and Total Sale Price
shown on page 1 of this contract on the
assumption that you will make every payment on
the day it is due. Your Finance Charge, Total of
Payments, and Total Sale Price will be more if you
pay late and less if you pay early. Changes may
take the form of a larger or smaller final payment or,
at our option, more or fewer payments of the same
amount as your scheduled payment with a smaller
tinal payment. We will send you a notice telling you
about these changes before the final scheduled
payment is due.

You may prepay. You may prepay all or part of the
unpaid part of the Amount Financed at any time
without penalty. If you do so, you must pay the
earned and unpaid part of the Finance Charge and
all other amounts due up to the date of your
payment.

 

2. YOUR OTHER PROMISES TO US

if the vehicle is damaged, destroyed, or

missing. You agree to pay us all you owe under

this contract even if the vehicle is damaged,

destroyed, or missing.

Using the vehicle. You agree not to remove the

vehicle from the U.S. or Canada, or to sell, rent,

lease, or transfer any interest in the vehicle or this

contract without our written permission. You agree

not to expose the vehicle to misuse, seizure,

confiscation, or involuntary transfer. If we pay any

repair bills, storage bills, taxes, fines, or charges on

the vehicle, you agree to repay the amount when

we ask for it.

Security Interest.

You give us a security interest in:

¢ The vehicle and all parts or goods put on it;

« All money or goods received (proceeds) for the
vehicle;

* All insurance, maintenance, service, or other
contracts we finance for you; and

* All proceeds from insurance, maintenance,
service, or other contracts we finance for you.
This includes any refunds of premiums or
charges from the contracts.

This secures payment of all you owe on this

contract. It also secures your other agreements

in this contract. You will make sure the title shows

our security interest (lien) in the vehicle.

Customer Completed Copy --

d.

Insurance you must have on the vehicle.

You agree to have physical damage insurance
covering loss of or damage to the vehicle for the
term of this contract. The insurance must cover our
interest in the vehicle. If you do not have this
insurance, we may, if we choose, buy physical
damage insurance. If we decide to buy physical
damage insurance, we may either buy insurance
that covers your interest and our interest in the
vehicle, or buy insurance that covers only our
interest to the extent permitted by applicable law. If
we buy either type of insurance, we will tell you
which type and the charge you must pay. The
charge will be the premium of the insurance and a
finance charge equal to the Annual Percentage Rate
shown on page 1 of this contract or, at our option,
the higest rate the law permits.

If the vehicle is lost or damaged, you agree that we
may use any insurance settlement to reduce what
you owe or repair the vehicle.

What happens to returned insurance, main-
tenance, service, or other contract charges. If we
get a refund on insurance, maintenance, service, or
other contract charges, you agree that we may sub-
tract the refund from what you owe.

 

IF YOU PAY |.ATE OR BREAK YOUR OTHER PROMISES

You may owe late charges. You will pay a late
charge on each late payment as shown on page 1 of
this contract. Acceptance of a late payment or late
charge does not excuse your late payment or mean
that you may keep making late payments.

If you pay late, we may also take the steps
described below.

You may have to pay all you owe at once. If you
break your promises (default), we may demand that
you pay all you owe on this contract at once.

Default means:

* You do not pay any payment on time;
* You give false, incomplete, or
information on a credit application;

« You start a proceeding in bankruptcy or one is

started against you or your property; or
¢ You break any agreements in this contract.
The arrount you will owe will be the unpaid part of
the Amount Financed plus the earned and unpaid
part of the Finance Charge, any late charges, and
any amounts due because you defaulted.
You may have to pay collection costs. If we hire
an attorney who is not our salaried employee to
collect what you owe, you will pay the attorney's
reasonzble fee and court costs the law permits. If
the vehicle is primarily for personal, family, or
household use and the cash price is $10,000 or
less, the maximum attomey's fee you will pay will
be $100 plus 10% of the excess over $500 of the
amount due when we hire the attorney.
We may take the vehicle from you. If you default,
we may take (repossess) the vehicle from you if we
do so peacefully and the law allows it. If your
vehicle has an electronic tracking device, you agree
that we may use the device to find the vehicle. It we
take the vehicle, any accessories, equipment, and
replacement parts will stay with the vehicle. If any
persona! items are in the vehicle, we may Store
them for you at your expense. If you do not ask for
these itams back, we may dispose of them as the
law allows.

misleading

LAW 553-NJ-ARB-e 5/10 v2 Page 30f5

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e. How you can get the vehicle back if we take it. If we

repessess the vehicle, you may pay to get it back
(redeem). We will tell you how much to pay to redeem.
Your right to redeem ends when we sell the vehicle.

We will sell the vehicle if you do not get it back. If
you do not redeem, we will sell the vehicle. We will send
you a written notice of sale before selling the vehicle.
We will apply the money from the sale, less allowed
expenses, to the amount you owe. Allowed expenses
are expenses we pay as a direct result of taking the
vehicle, holding it, preparing it for sale, and selling it.
Attorney fees and court costs the law permits are also
allowed expenses. If any money is left (surplus), we will
pay it to you unless the law requires us to pay it to
someone else. If money from the sale is not enough to
pay the amount you owe, you must pay the rest to us. If
you do not pay this amount when we ask, we may
charge you interest at a rate not exceeding the highest
lawful rate until you pay.

g- What we may do about optional insurance, main-

tenance, service, or other contracts. This contract
may contain charges for optional insurance, main-
tenance, service, or other contracts. If we demand that
you pay all you owe at once or we repossess the
vehicle, we may claim benefits under these contracts
and cancel them to obtain refunds of unearned charges
to reduce what you owe or repair the vehicle as the law
allows. If the vehicle is a total loss because it is
confiscated, damaged, or stolen, we may claim benefits
under these contracts and cancel them to obtain
refunds of uneamed charges to reduce what you owe.

 

WARRANTIES SELLER DISCLAIMS

Unless the Seller makes a written warranty, or
enters into a service contract within 90 days from
the date of this contract, the Seller makes no
warranties, express or implied, on the vehicle, and
there will be no implied warranties of merchantabil-
ity or of fitness for a particular purpose.

This provision does not affect any warranties covering
the vehicle that the vehicle manufacturer may provide.

 

5. Servicing and Collection Contacts.

You agree that we may try to contact you in writing, by
e-mail, or using prerecorded/artificial voice messages,
text messages, and automatic telephone dialing systems,
as the law allows. You also agree that we may try to
contact you in these and other ways at any address or
telephone iumber you provide us, even if the telephone
number is a cell phone number or the contact results in a
charge to you.

 

6. Applicable Law
Federal law and the law of the state of our address
shown on page 1 of this contract apply to this contract.

 

Electronic Coritracting and Signature Acknowledgment.
You agree that (i) this contract is an electronic contract
executed by you using your electronic signature, (ii) your
electronic signature signifies your intent to enter into this
contract and that this contract be legally valid and enforceable
in accordance with its terms to the same extent as if you had
executed this contract using your written signature and (iii)
the authoritative copy of this contract ("Authoritative Copy")
shall be that electronic copy that resides in a document
management system designated by us for the storage of
authoritative ccpies of electronic records, which shall be
deemed held by us in the ordinary course of business.
Notwithstanding the foregoing, if the Authoritative Copy is
converted by prnting a paper copy which is marked by us as
the original (the "Paper Contract"), then you acknowledge and
agree that (1) your signing of this contract with your electronic
signature also constitutes issuance and delivery of such
Pager Contract, (2) your electronic signature associated with
this contract, when affixed to the Paper Contract, constitutes
you’ legally valid and binding signature on the Paper Contract
and (3) subsequent to such conversion, your obligations will
be evidenced by the Paper Contract alone.

 

The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
and retain its right to receive a part of the Finance Charge.

 

 

 

HOW THIS CONTRACT CAN BE CHANGED. This contract contains the entire agreement petyeen _you and us relating to this contrat a change to this
contract must be in writing and we must sign it. No oral changes are binding. Buyer Signs X ty Co-Buyer Signs X Ui.

If any part of this contract is not valid, all other parts stay valid. We may delay or refrain from enforcing any of our rights under this contract without losing
them. For example, we may extend the time for making some payments without extending the time for making others.

See the rest of this contract for other important agreements.

NOTICE TO RETAIL. BUYER

Do not sign this contract in blank.

You are entitled to a copy of the contract at the time you sign.

Keep it to protect your legal rights.

You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you, and you were free to
take it and review it. You acknowledge that you have read all pages of this contract, including the arbitration clause on page 5,
before signing below. You confirm that you received a completely filled-in copy wher you signed it.

Date 01/18/2014 Co-Buyer Signs X D\.
Co-Buyers and Other Owners — A co-buyer is a person who is responsible for paying the entire debt. An ofher owner is a person whose name is on the title to the vehicle but does not have to pay

Buyer Signs X D
the debt. The other owner agrees to the security interest in the vehicle given to us in this contract.

Other owner signs here X N/A

Address.

Date 01/18/2014

N/A

 

 

 

Title Finance Manage

 

Seller signs HOLMAN AUTOMOTIVE

Date 0118/2014 gy XE,

 

 

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ARBITRATION CLAUSE
PLEASE REVIEW - IMPORTANT - AFFECTS YOUR LEGAL RIGHTS

1. EITHER YOU OR WE MAY CHOOSE TO HAVE ANY DISPUTE BETWEEN US DECIDED BY ARBITRATION AND NOT IN COURT
OR BY JURY TRIAL.

2. IF A DISPUTE IS ARBITRATED, YOU WILL GIVE UP YOUR RIGHT TO PARTICIPATE AS A CLASS REPRESENTATIVE OR CLASS
MEMBER ON ANY CLASS CLAIM YOU MAY HAVE AGAINST US INCLUDING ANY RIGHT TO CLASS ARBITRATION OR ANY
CONSOLIDATION OF INDIVIDUAL ARBITRATIONS.

3. DISCOVERY AND RIGHTS TO APPEAL IN ARBITRATION ARE GENERALLY MORE LIMITED THAN JN A LAWSUIT, AND OTHER
RIGHTS THAT YOU AND WE WOULD HAVE IN COURT MAY NOT BE AVAILABLE IN ARBITRATION.

Any claim or dispute, whether in contract, tort, statute or otherwise (including the interpretation and scope of this Arbitration Clause, and the
arbitrability of the claim or dispute), between you and us or our employees, agents, successors or assigns, which arises out of or relates to
your credit application, purchase or condition of this vehicle, this contract cr any resulting transaction or relationship (including any such
relationship with third parties who do not sign this contract) shail, at your or our election, be resolved by neutral, binding arbitration and not
by a court action. If federal law provides that a claim or dispute is not subject to binding arbitration, this Arbitration Clause shall not apply to
such claim or dispute. Any claim or dispute is to be arbitrated by a single arbitrator on an individual basis and not as a class action. You
expressly waive any right you may have to arbitrate a class action. You mey choose one of the following arbitration organizations and its
applicable rules: the National Arbitration Forum, Box 50191, Minneapolis, MN 55405-0191 (www.arb-forum.com), the American Arbitration
Association, 335 Madison Ave., Floor 10, New York, NY 10017-4605 (www.adr.org), or any other organization that you may choose subject
to our approval. You may get a copy of the rules of these organizations by contacting the arditration organization or visiting its website.

Arbitrators shall be attorneys or retired judges and shall be selected pursuant to the applicable rules. The arbitrator shall apply goveming
substantive law in making an award. The arbitration hearing shall be conducted in the federal district in which you reside unless the
Creditor-Seller is a party to the claim or dispute, in which case the hearing will be held in the federal district where this contract was
executed. We will advance your filing, administration, service or case management fee and your arbitrator or hearing fee all up to a
maximum of $2500, which may be reimbursed by decision of the arbitrator al the arbitratoi's discretion. Each party shall be responsible for
its own attorney, expert and other fees, unless awarded by the arbitrator uncer applicable law. If the chosen arbitration organization's rules
conflict with this Arbitration Clause, then the provisions of this Arbitration Clause shall control. The arbitrator's award shall be final and
binding on all parties, except that in the event the arbitrators award for a pary is $0 or against a party is in excess of $100,000, or includes
an award of injunctive relief against a party, that party may request a new arbitration under the rules of the arbitration organization by a
three-arbitrator panel. The appealing party requesting new arbitration shall be responsible for the filing fee and other arbitration costs subject
to a final determination by the arbitrators of a fair apportionment of costs. Any arbitration under this Arbitration Clause shall be governed by
the Federal Arbitration Act (9 U.S.C. § 1 et. seq.) and not by any state law concerning arbitration.

You and we retain any rights to self-help remedies, such as repossession. You and we retan the right to seek remedies in small claims court
for disputes or claims within that court's jurisdiction, unless such action is transferred, removed or appealed to a different court. Neither you
nor we waive the right to arbitrate by using self-help remedies or filing suit. Any court having jurisdiction may enter judgment on the
arbitrators award. This Arbitration Clause shall survive any termination, payoff or transfer of this contract. If any part of this Arbitration
Clause, other than waivers of class action rights, is deemed or found to be unenforceeble for any reason, the remainder shall remain
enforceable. If a waiver of class action rights is deemed or found to be unenforceable for any reason in a case in which class action
allegations have been made, the remainder of this Arbitration Clause shall be unenforceable.

 

 

LAW" FORM NO. 553-NJ-ARB-e (nevsig) U.S. PATENT NO. D460,762
meee 62210 The Reynolds and Reynolds Company

THERE ARE NO WARRANTIES, EXPRESS OR IMPLIED, AS TO CONTENT OR

FITNESS FOR PURPOSE OF THIS FORM. GONSULT YOUR OWN LEGAL COUNSEL. L AW 553-N. U-A RB-e 5/10 v2 Page 5 of 5

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